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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                                  No. 16 CR 575
       v.
                                                  Judge Thomas M. Durkin
JOHN ROGERS

UNOPPOSED MOTION FOR AN ORDER TO DESTROY ITEMS SEIZED AS
                       EVIDENCE

      The United States of America, by its attorney, Jonathan R. Lausch, Jr., United

States Attorney for the Northern District of Illinois, respectfully submits this

unopposed motion to the Court for an order to destroy items of evidence in this case.

      1.     On December 20, 2017, defendant John Rogers was sentenced by this

Court after he was convicted of wire fraud, in violation of Title 18, United States

Code, Section 1343. As part of the investigation, the government seized evidence,

including photographs, sports memorabilia, and other items that were altered for the

purpose of committing the fraud scheme charged in this case, and the continued

criminal conduct that occurred after defendant was charged.

      2.     The evidence seized during the investigation is currently in the

possession of the Federal Bureau of Investigation. Destruction of the evidence is

appropriate because it was used or intended to be used to facilitate the fraud scheme,

but more importantly, nearly all of the items contain phony signatures, phony trophy

plates, or other markings that purport to represent the items as something they are


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not. Anything other than destruction will create a risk of these phony items being

placed back into the marketplace.

      3.     As part of his plea agreement, defendant waived and abandoned any

right, title, or interest he has in the property seized by the FBI. Additionally, at the

December 20 sentencing hearing, defendant confirmed to the Court that he had no

objection to the destruction of the evidence. Defendant also offered to waive his

interest in two additional boxes of items that were in possession of his counsel and

would provide to the FBI.

      4.     As the Court instructed at the December 20 hearing, the parties have

prepared the attached proposed order for the destruction of the evidence. The

proposed order directs the government to destroy all of the evidence seized from

defendant, with the exception of the following categories: (1) Items the FBI

determines are authentic and have value should be preserved and then sold, with any

proceeds applied to the restitution amount owed to the victims in the case; (2) At the

direction of the FBI, and to the extent possible, items that have little to no value,

including bats and balls that contain forged signatures, should have all fraudulent or

phony markings removed or defaced, and donated to youth sports programs in the

Chicago, Illinois, and Little Rock, Arkansas, areas; (3) Items the FBI determines can

be used for other investigations or matters should not be destroyed, and should

remain in FBI custody.




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      WHEREFORE, the government respectfully requests this Court order the

destruction of the evidence in this case pursuant to the proposed order submitted

with this motion.


                                            Respectfully submitted,

                                            JOHN R. LAUSCH, JR.
                                            United States Attorney

                                      By:    /s/ Derek Owens
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Dated: January 24, 2018




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